Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 1 of 18




                 EXHIBIT 3
    Motion to Deem Clerk’s Default Void
     or in the Alternative, to Set it Aside
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 2 of 18




   Marc J. Randazza (AZ Bar No. 027861)
 1
   RANDAZZA LEGAL GROUP, PLLC
 2 2764 Lake Sahara Drive, Suite 109
   Las Vegas, NV 89117
 3 Telephone: 702-420-2001
 4 ecf@randazza.com
   Attorneys for Defendants
 5
   Audrey Davis and John Jacob Howe
 6
 7
                             SUPERIOR COURT, STATE OF ARIZONA
 8
                             IN AND FOR THE COUNTY OF YAVAPAI
 9
10   RHONDIE VOORHEES, an individual,                      Case No. P1300CV202100396
11
                     Plaintiff,                                         Dept. 2
12
         v.                                             MOTION TO DEEM CLERK’S
13                                                      DEFAULT VOID OR IN THE
     AUDREY DAVIS, an individual, and                 ALTERNATIVE, TO SET IT ASIDE
14   JOHN JACOB HOWE, an individual
15
                     Defendant.
16
17
18 1.0        Introduction

19            Despite knowing that Audrey Davis was a servicemember on active duty, Plaintiff
20 sought default against her under Ariz. R. Civ. P. 55(a). The application for default was
21 materially defective on two separate grounds, rendering it void ab initio. Even if it
22 hypothetically survived this challenge to its validity, there are good grounds to set it aside
23
   and permit Ms. Davis to defend herself on the merits.
24
          Additionally, given that default was improperly entered even though Plaintiff was
25
   aware of Defendant Davis’ military service, Defendant Davis requests reimbursement of
26
   the fees and costs she expended having default set aside.
27
28                                               -1-
                                  Motion to Deem Clerk’s Default Void
                                        P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 3 of 18




 1 2.0         The Application for Default Was Void
 2       2.1      Void due to error in military status
 3             Plaintiff’s application for default contained the required certification from
 4
     Plaintiff’s counsel:
 5
                “To comply with the requirements of 50 U.S.C.A. § 520, I verify that, to the best of
 6             my knowledge, the above-named party is not in the military service, and is not an
               infant or incompetent.”
 7
     Defendant will not accuse Attorney Warner of knowingly misrepresenting the facts.
 8
 9 However, Attorney Warner was aware that Ms. Davis was going to be in active duty
10 military service at the time. (See Email from Patrick Davis to Dan Warner and Anne
11 Griffith, dated June 1, 2021, attached as Exhibit A to Patrick Davis Declaration; Audrey
12 Davis Order, attached as Exhibit A to Audrey Davis Declaration (establishing that she was
13 on active duty).)
14             However, it appears that this material falsehood in the Application is due to
15 Attorney Warner misunderstanding the law, rather than a desire to mislead the Court.
16
   It appears, from Attorney Warner’s arguments in the file thus far, that he did not consider
17
   ROTC to be “real military service.” (See Response to Defendant’s Motion to Continue, at
18
   4-5.) However, Defendant Davis has presented adequate case law that demonstrates that
19
   ROTC is, indeed, “military service.” See, e.g., Brown v. United States, 151 F.3d 800, 805
20
   (8th Cir. 1998) (“Senior ROTC training activities are mandatory and supervised, and are
21
22 defined as ‘active military service’”); Callis v. Shannon, 93 Civ. 4983 (RPP), 1994 U.S.
23 Dist. LEXIS 3711 (S.D.N.Y. Mar. 25, 1994) (describing an individual in the ROTC
24 program as a member of the United States Army).
25             Pursuant to the provisions of 50 U.S.C. § 520, the affidavit submitted by Plaintiff’s
26 counsel with regard to the request for default contains misstatements regarding Defendant
27
28                                                  -2-
                                     Motion to Deem Clerk’s Default Void
                                            P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 4 of 18




 1 Davis’ military service. Regardless of the fact that said misstatements were likely
 2 unintentional mistakes of law, the default is void. Defendant was engaged in active military
 3 service when default was requested. Defendant requests that the instant Motion be granted.
 4
      2.2    The Application is Void due to it being mailed in a manner that Davis could
 5           not have received it
 6         The application for default was mailed to Ms. Davis’ parents’ address in North
 7 Carolina, but was mailed there with the actual knowledge that Ms. Davis would be in
 8 ROTC drill at that time. Ms. Davis’ father explained this to Attorney Warner. (See
 9 Declaration of Patrick Davis at Exhibit A.) Again, Attorney Warner may have mistakenly
10
   believed, in good faith, that “ROTC is not real military service.” Nevertheless, he was on
11
   actual notice that mailing the Application for Default to Ms. Davis’ mother, when Ms.
12
   Davis was scheduled to be on Fort Knox, was legally no different from sending no notice
13
   at all, thus voiding the Application. See Ruiz v. Lopez, 225 Ariz. 217, 236 P.3d 444, 588
14
   Ariz. Adv. Rep. 36, 2010 Ariz. App. LEXIS 123 (Ariz. Ct. App. 2010) (appellant mailing of
15
16 default judgement to street address without apartment number was “tantamount to sending
17 no notice at all”).
18 3.0     Even if Valid, the Application for Default Should be Set Aside

19         Even if it were not materially defective, and thus void, the Application for Default
20 should be set aside. This Court has the right to set it aside upon “a determination of disputed
21 questions of fact or credibility, a balancing of competing interests, pursuit of recognized
22 judicial policy, or any other basis to which we should give deference.” Gen. Elec. Cap.
23
   Corp. v. Osterkamp, 172 Ariz. 185, 188, 836 P.2d 398 (App. 1992) (quoting City of
24
   Phoenix v. Geyler, 144 Ariz. 323, 329, 697 P.2d 1073 (1985)).
25
          Most of the case law surrounding this issue is in the realm of default judgments
26
   being set aside. A mere clerk’s default, without default judgment, should be set aside if
27
28                                               -3-
                                  Motion to Deem Clerk’s Default Void
                                         P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 5 of 18




 1 there is any reason at all to do so. However, even under the more stringent analysis of a
 2 default judgment, it would be proper to permit Ms. Davis to have due process and defend
 3 herself on the merits.
 4
          Arizona law favors resolution on the merits, and therefore, if the trial court has any
 5
   doubt about whether to vacate a default judgment, it should rule in favor of the moving
 6
   party. Daou v. Harris, 139 Ariz. 353, 678 P.2d 934, 1984 Ariz. LEXIS 187 (Ariz. 1984).
 7
   Sax v. Superior Court, 147 Ariz. 518, 711 P.2d 657, 1985 Ariz. App. LEXIS 745 (Ariz. Ct.
 8
   App. 1985) (When considering a motion to set aside a default, all doubts are to be resolved
 9
10 in favor of the defaulted party).
11           The test of what is excusable in a motion to set aside the judgment is whether the

12 neglect or inadvertence is such as might be the act of a reasonably prudent person under
13 similar circumstances. Daou v. Harris, 139 Ariz. 353, 678 P.2d 934, 1984 Ariz. LEXIS
14 187 (Ariz. 1984).
15     3.1      The failure to mail the Application in a manner that Ms. Davis would
16              receive it creates grounds to set it aside.

17           As discussed above, Ms. Davis was on active duty military service when Plaintiff

18 sought default. Had it been sent to her unit at Fort Knox, she likely would have received
19 it, and she may have been able to seek assistance from the Army Judge Advocate General's
20 Corps (JAG). However, since she did not receive it until she returned from active duty
21 status, she was unable to react to it. (See Audrey Davis Declaration at ¶ 10.) At the time,
22 the parties were in regular contact via phone and email. (See id. at ¶ 11.) Therefore, this
23
   lack of notice could have potentially been avoided had the notice been sent via email as
24
   well.1 Plaintiff chose not to use the most reliable and regular method of communication
25
       1
26         This is not to take the position that email service is adequate under the applicable
   rules, but that this might have at least placed Ms. Davis on some kind of notice, even if that
27 notice would not be acceptable notice under Rule 55.
28                                               -4-
                                  Motion to Deem Clerk’s Default Void
                                        P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 6 of 18




 1 between the parties – one that had seemingly been adequate for all other communications
 2 leading up to the motion for default. There is no suggestion that this was done as a strategic
 3 move, but it would seem that the neglect to copy Defendant with an email creates additional
 4
   excusable neglect on Davis’s part.
 5
          Further, Ms. Davis did file a request to stay the proceedings, under the
 6
   Servicemembers Civil Relief Act. Admittedly, it was not done to the standards that the Act
 7
   calls for. Nevertheless, she did respond as a reasonably prudent person would have –
 8
   sending a request to the Court to recognize her military status, and to ask for an extension
 9
10 of time in which to respond. That request has still not been acted upon, and could be acted
11 upon in lieu of even considering this motion.
12      3.2      The default should be set aside under the SCRA

13            If a court enters a default judgment against a servicemember, the court shall set aside
14 its judgment if the servicemember files a motion within 60 days after leaving active
15 military service and can demonstrate that military service prejudiced his or her availability
16 to appear in court (unless the default was based on a false affidavit by the plaintiff regarding
17
   military service of the defendant, in which case such a showing is unnecessary) and that
18
   there are meritorious or legal defenses to the suit. We have shown how the affidavit was
19
   false (although, again, we do not claim that it was done so intentionally; this appears to be
20
   a mistake of law on Plaintiff's part). Accordingly, given that the affidavit was false, no
21
   default judgment would be proper. And, any default entered would be able to be set aside.
22
23 See 50 U.S.C. § 3931(g)(1).
24            Defendant has shown that the affidavit was false. At the time of the Application for

25 Default, Davis was indeed on active duty. Further, the Affiant knew she was on active duty.
26
27
28                                                 -5-
                                    Motion to Deem Clerk’s Default Void
                                           P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 7 of 18




 1 The only issue is that the affiant seemed to be unaware of the fact that ROTC training is
 2 “active duty” under the SCRA.
 3      3.3      There was Excusable Neglect and a Meritorious Defense
 4
              Ms. Davis has shown clear excusable neglect. She submitted a request for an
 5
     extension to respond to Plaintiff’s Complaint pursuant to the Servicemembers Civil Relief
 6
     Act. While she did not submit it in full compliance with the rules, she submitted it in the
 7
     manner that a reasonably prudent person that did not have time to retain an attorney would
 8
     have. Finally, she believed that submitting the request to the Court would keep her from
 9
10 defaulting until she could find an attorney. (See Audrey Davis Declaration at ¶ 14.)
11            Moreover, she was not disregarding this case. At her earliest opportunity, she filed

12 paperwork to have counsel appointed. (See id. at ¶ 12.) She had multiple communications
13 with Plaintiff’s counsel throughout the spring and summer of 2021 and repeatedly told him
14 that she was in ROTC. (See id. at ¶¶ 4-5.) Her father additionally informed Mr. Warner
15 that Ms. Davis was in active service in the military. (See id. at ¶ 8.) She was unable to find
16 an attorney that would work for amounts that she could afford until August 30, 2021. (See
17
   id. at ¶ 16.)
18
           With respect to a meritorious defense, Davis has filed a motion to dismiss, which is
19
   incorporated by reference. She is entitled to have default set aside and to litigate the merits
20
   of this case against Plaintiff Voorhees.
21
   4.0     Plaintiff Should Pay Ms. Davis’s Attorneys’ Fees
22
23         This Court has inherent authority to sanction bad faith conduct independent of the

24 authority granted by Rule 11. Hmielewski v. Maricopa County, 192 Ariz. 1, 4, 960 P.2d 47
25 (App. 1997). These powers are governed by “the control necessarily vested in courts to
26
27
28                                                 -6-
                                    Motion to Deem Clerk’s Default Void
                                          P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 8 of 18




 1 manage their own affairs so as to achieve the orderly and expeditious disposition of cases.”
 2 Id.
 3          In this case, Ms. Davis did nothing wrong. Moreover, given that a Clerk’s default is
 4
     easily set aside, standards of decency suggest that counsel would agree to set the default
 5
     aside, particularly when the defaulted party presented counsel with valid reasons for not
 6
     filing a timely response to the Complaint. As such, Ms. Davis respectfully requests that the
 7
     Court award her the attorneys’ fees and costs she expended getting the default set aside.
 8
     5.0    Conclusion
 9
10          For each and every reason expressed herein, Defendant Audrey Davis respectfully

11 requests that the Court grant the instant Motion: The Court should deem the Application
12 for Default void, ab initio and accept the Motion to Dismiss for resolution on its merits. In
13 the alternative, the Court should set aside the default and accept the Motion to Dismiss on
14 its merits. In either event, Davis requests the fees expended in setting aside the improperly
15 sought default.
16
17          Dated: October 7, 2021.            Respectfully submitted,
18                                             /s/ Marc J. Randazza
19                                             Marc J. Randazza (AZ Bar No. 027861)
                                               RANDAZZA LEGAL GROUP, PLLC
20                                             2764 Lake Sahara Drive, Suite 109
                                               Las Vegas, NV 89117
21
                                               Attorneys for Defendants
22                                             Audrey Davis and John Jacob Howe
23
24
25
26
27
28                                               -7-
                                  Motion to Deem Clerk’s Default Void
                                         P1300CV202100396
     Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 9 of 18




 1                                                               Case No. P1300CV202100396
 2                              CERTIFICATE OF SERVICE
 3          I HEREBY CERTIFY that on this 7th day of October 2021, I served a true and
 4 correct copy of the foregoing document via the Arizona Court’s electronic filing system.
 5          I further certify that a true and correct copy of the foregoing document is being
 6 served upon counsel for Plaintiff via electronic mail and U.S. Mail at the address listed
 7 below:
 8
                                      RM WARNER, PLC
 9                              8283 N. Hayden Road, Suite 229
                                     Scottsdale, AZ 85258
10                                  Daniel R. Warner, Esq.
11                               Email: dan@rmwarnerlaw.com
                                  Raeesabbas Mohamed, Esq.
12                              Email: Raees@rmwarnerlaw.com
13
14
                                              /s/ Marc J. Randazza
15                                            Randazza Legal Group, PLLC
16
17
18
19
20
21
22
23
24
25
26
27
28                                              -8-
                                 Motion to Deem Clerk’s Default Void
                                       P1300CV202100396
 Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 10 of 18




 1                        SUPERIOR COURT, STATE OF ARIZONA
 2                         IN AND FOR THE COUNTY OF YAVAPAI
 3
 4   RHONDIE VOORHEES,                              Case No. P1300CV202100396
 5   an individual,
                                                    Dept. 2
 6                  Plaintiff,
                                                    DECLARATION OF
 7
       v.                                           PATRICK DAVIS
 8
     AUDREY DAVIS, an individual, and
 9   JOHN JACOB HOWE, an individual
10
                    Defendant.
11
12
            I, PATRICK DAVIS, declare:
13
       1. I am over 18 years of age and have never been convicted of a crime involving
14
            fraud or dishonesty. I have first-hand knowledge of the facts set forth herein, and
15
            if called as a witness could and would testify competently thereto.
16
       2. I am the father of Defendant Audrey Davis.
17
       3. On June 1, 2021, I informed Daniel Warner and Anne Griffith at Plaintiff’s law
18
            firm that my daughter Audrey would be at Ft. Knox for active Army training for
19
            the summer.
20
       4. Attached as Exhibit A to this Declaration is a true and correct copy of an email
21
            that I sent to Mr. Warner and Ms. Griffith on June 1, 2021.
22
23          I declare under penalty of perjury that the foregoing is true and correct.
24
            Dated: _______________
25
                                                ________________________
26
                                                Patrick Davis
27
28                                                 -1-
                                       Declaration of Patrick Davis
                                          P1300CV202100396
Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 11 of 18




                 EXHIBIT A
   Email from Patrick Davis to Dan Warner
    and Anne Griffith, dated June 1, 2021
Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 12 of 18
 Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 13 of 18




 1                        SUPERIOR COURT, STATE OF ARIZONA
 2                         IN AND FOR THE COUNTY OF YAVAPAI
 3
 4    RHONDIE VOORHEES,                            Case No. P1300CV202100396
 5    an individual,
                                                   Dept. 2
 6                  Plaintiff,
                                                   DECLARATION OF
 7
         v.                                        AUDREY DAVIS
 8
      AUDREY DAVIS, an individual, and
 9    JOHN JACOB HOWE, an individual
10
                    Defendant.
11
12
13
              I, AUDREY DAVIS, declare:
14
              1.   I am over 18 years of age and have never been convicted of a crime involving
15
     fraud or dishonesty. I have first-hand knowledge of the facts set forth herein, and if called
16
     as a witness could and would testify competently thereto.
17
              2.   I am a Defendant in this action.
18
19            3.   I am writing this Declaration in support of the Motion to Deem Clerk’s

20 Default Void or to Set It Aside.
21            4.   I had extensive communications with Ms. Voorhees’ attorney, Dan Warner,
22 through the spring and summer of 2021.
23            5.   In those conversations, and subsequent email communications, Attorney
24 Warner was well aware that I was in ROTC.
25
26
27
28                                                -1-
                                      Declaration of Audrey Davis
                                         P1300CV202100396
 Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 14 of 18




 1          6.     I was on active orders for ROTC from July 02, 2021 to September 05, 2021.
 2 Attached as Exhibit A to this declaration is a true and correct copy of the active orders I
 3 was under when Plaintiff requested default.
 4
          7.     Being on active orders in the ROTC qualifies me as an active military service
 5
   member.
 6
          8.     My father, Patrick Davis, explained to Attorney Warner that I would be at
 7
   ROTC drill and not at my parent’s address in North Carolina. Attorney Warner mailed the
 8
   Application for Default to my parent’s address in North Carolina and, because of this, I did
 9
10 not receive the Application for Default until I returned home from active duty status.
11          9.     If the Application for Default had been sent to my unit in Fort Knox, it may

12 have been possible for me to seek assistance from the Army Judge Advocate General’s
13 Corps (JAG).
14          10.    Since I did not receive the Application for Default until I returned from active
15 duty status, I could not react to it in the required timeframe.
16          11.    Throughout this time, myself and Attorney Warner had been in regular
17
     contact via phone and email.
18
            12.    On 16, July, 2021 I filed my request to have counsel appointed and for a stay
19
     of these proceedings under the Servicemembers Civil Relief Act.
20
            13.    I am not an attorney, but I did my research and provided a copy of the relevant
21
     statute to the court on July 19, 2021.
22
23          14.    I was under the impression that filing this would keep me from defaulting,

24 and I then did everything I could to find a lawyer.
25          15.    I had great difficulty finding a lawyer, because I had to put my full attention

26 to my military duties, which cut into the time I could spend. Further, I can not afford a
27
28                                                 -2-
                                       Declaration of Audrey Davis
                                          P1300CV202100396
 Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 15 of 18




 1 lawyer who will not make significant accommodations for me, financially, as I am a full
 2 time student and my husband is an E-5 (Sergeant) in the U.S. Army whose schedule is
 3 constantly fluctuating due to being a part of the Global Response Force, meaning he will
 4
   be a part of the first group to be emergency deployed.
 5
          16.     It was not until August 30, 2021 that I was able to retain Randazza Legal
 6
   Group (RLG) and RLG was a firm that was finally willing to represent me at a deep
 7
   discount, which other firms were not willing to do.
 8
 9
          I declare under penalty of perjury that the foregoing is true and correct.
10
          Dated: _______________
11
12                                           ________________________
                                             Audrey Davis
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                              -3-
                                    Declaration of Audrey Davis
                                       P1300CV202100396
Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 16 of 18




                 EXHIBIT A
                       Duty Orders
                   Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 17 of 18

                                                                                                                                                                   I


                                                              t: A. n:r:r:1' 0 Tll B                               R!J •
                                                             D <"T/H .. I\ y CAO                                     RT } :OX
                                                    UNIT
                                                                        l ST CJ,VAL 'I'
                                                                     ro     T   ·ox.
                                                                                                                                                     MJ.Y    021


     AVIS l,UDRE\'                                                                        us     -AS
                                                                                                                llSAR cor:TROL   GROUP r ROTCJ
    NORTHF.~J ARI~ ~A tmlVE                     SITY        •SAt
    NAU SOX 6~~3 BL ~7A
    ltlS        S. Sk~ FRAN lS                 ST
    FU.GSTAFP           AZ ioOll-0         00

    YOU ~s   O~BRED        l.CTIVE UTT      R T~'\rnrnG   (;J)Tt FOR PR0r£SS!0r.,AC. OEVELOPME:ZT FOR_ Tii£
    PERI l) SH0'1''N ~, CC~PLETION Or nra . ERIO        OF AOT,   . LESS SOOt{ER RELEASED OR EY.TEt:Oc.0 SY
    PR PER Alr.'H RIT\'. \'OU "IU, RS l.fR!2 TO THE PLACH 1-C'HE: S YOU N ER.ED AOT •

    FSiUOD: li D.&.'1S UJS Al.l..O;{AnU: TRAVEL -1Mc;
    RSl'ORT TO: r~omi•~          SUt-!!-~ERTAAmit;~ rT l\::OX C PPLS CE!lTSR, BL~  6S90.   F'T .a;ox K'f 40l 2 l-
    OOO
    REPORT     't1;/TIME: 01 JUL 2021
    EN:>l>ATE/TlM:S:     8 ACG 202
    ATTACHEO 70: ;.      • l~ ROT         £ TAArn:~  s·.
                                                      FT KNOX C'OPPtE C£t-'TER. BLDG 590 •   FT io:ox KY
    t       2 -0000
    PURPOSE: Arr.          FOR PROFtSSlOSA.l.                 DEVELOPt-lE.t:':' (Ct.Cl

    AOOITlO~M.. INSTRUCT.lC~S l           TIIIS ORDER DOES NOT cm~STl Tlr.t       AU'!"HORITY TO -rAAVEL.. t.!l
     Atn'HORIV.TJO!,     r ST BE CO~Pl,E-1m iiITHlN THE DTS PRIO~ TO TRAVEL. E1fSi.11lt TivWEL
     1.l""mORIZA1'IO:,s HiC'LOO& ALl. ESTl            n:o MH,E.ACE M1) t:O~•MH,£J\GS EXPENSES. SCAN OR PAX nus
     ORDER wro THE RECl:a                      .s
                                         AAtA :t, TS (SEt.tC7 l:-;)iil£~SES:.SIJBSTAfn:'IATit\G REC'O S).    G!:>V'EP.KE?IT
     KEAf.S, lAOOISG.      ;.;r::>':"RN,SPO TAT IOU ARE :l!R£Cj'£:).    rnIT:AJ..  OR RETURN 7AAV£1 FOR A CADET ~"HOSE
     TAAV£~ORIGlNATESFROM A RO I~STITtr.10~                     OR HOR OUTSIDE OF THE CO~TIN£NTAL         lmITEO STATES
      (    tr'JSJ 1S l>IRECT         S\' GTR . :JRJHSH~ SY TH~ TP.A.~SPCRTA':'ION OFFICER AT TH£ A£R!AL            PORT OF
     F.Y.:lARKATIO~L :F GO\ff:. ~m·              t;rsH£D TP~,sPORTATJO}l     JS NOT AVAILABLE    rROX A!'I OVERSEAS
     LOCATIO!J, A SJ'llTE.V.Em' TO THIS EFFECT MUST BE OBTAHlBD FRO.'I TiiE APPROPRIATE TRANSf'ORTATIO!l
     OFFICER.      F    V l S AtrrF.ORI ZED, RBIMBl1RSEHE1IT rs UMl ED TO cor;sTRUCTIVS              COST OF GTR, CAOST
     K'JST t{Ayg PJCTU?& I E!JT~Fic,rror;                           w
                                                         HIS/HER POSSESSIO~ ;r ALL TIMES.        IP A co,       s ACCESS
    CAJC:>  •CAcJ HAS~OT BES:-rSSUE~. A VAf.IO RIVES LICENSEOR PrC'TORElDOITirrCATION 15
    Rl: ':J1Rt"0. t.OOCl~:a A;l~ SlJ scsr...1::t" k'tLt. ai:: nJ ~;SH~ AT ::o &XP6t-S6 11iE CADET EXCEPT    AS
         0 RED BY       DF'M, PAAAGR PH S&OlO)C.      CAOET MUST FIL£ OTS ~O'CH R ftIT'ttIN  FIVE CAYS OF
    CC!-IPLET!~;G TIU.VI:L. fflE A P       IA.    DTS EK.RY AGEllT ~ILL C/\TH R A:-lY RECEIPTS    R
    iU:Il".BvRSD ~:r. l:PLO;.D THEM rnro DTS, ;.i;o FILE THE VOUCHER usrno OTS. TAAVEC. ~ILL BE BILLEI>
         A C "'JTAALl.'i BILLE:) ;.cco ,;r (CHAI.   r ..o CHECK-D e;.c;s, :STB so LRS EACH, ARE AUTHORIZED.
     A&,°"" USE :
At/THO tn·;   SE .10:~s                                             (Al en.   TITt.R lO,         ·sc   R AOT WITH PAY. p~y om.Y                 IF   CI'DT
!S AT t. • T 4 'EE CS                                           It:CLVD     SUCCE:SSlV           E 10 S OF CPDT AT • ULTI LE SIT                S
ACCT C                  :1:20100                           GXS600017019
      ,: U/A            PPII: !I/;;.           co.     I    llSAR       SHX:   I-              T   : n/A           SECCLR:       liCRST
    F.PD: ti/A          HOR. ~J/A                                                              TAC: t:/A


................                                                                                        :JOLA L. IRI"H
•            U "AC:C        •                                                                           cot., os
..............
•
        ,
            01' IC~A•
                            .                                                                           0£    TY C'HH~r oi,· r: AFP,       01


                                   TPH     I
                                                    ro~:1      ~o • f R
            J               T'io.AlHJ :,       FT      •lQX C'O L          C lfT          L        o.      •r      •mx KY   ,o   ~1-0000
                  Case 3:21-cv-08249-DLR Document 17-4 Filed 12/28/21 Page 18 of 18




                                          DIPAltTMDT OP THI AIINT~.
                                     UJflTBD ITATU ARNY CADIT caecm                                AIID ,on          rm
                                                                   1ST CAVALRY   uonaarr          ROM)
                                                                   PORT ICHOX, ICYt0121•512J
    OltDD.I, cc:-11,1-oooss                                                                                                                17 .rUII JOH
    DAVIS AUDRIY g                                                               USAC:C•AFS          C'DT
    ~U      ARIZONA UNJVIRSITY CSA)                                                                  USAA CONTJtOLoaou, (ROTC)
    nn   BOX C0t3 BLOOt7A
    14 lS 8, SAN FRANCISCOST
    ru.GsTAPP AZ 1,011-0000

    YOU ARI ORDERED10 ACTIVI DUTY R TRA%Nit:::;(ADTJ FOR PR01ESSIONALDIVILOPMIHT FOR THI
    PIRIOO SHOWN. ON COHPLKTIONOP ntB r UO:> o, AI>T. t,,:u:ss ,. :-JtR RELEASEDOR IXTIHDED IY
    PROPIR AUTHORITY, YOU WILL R TURN   TH£ PUC£ ._1'4E.KY           ID AIYr,

    PBRIOD1 28 DAYSPLUS ALLO~AniETRAVtLTIME
                                GA f'T tt:,u,:
    REPORT TO, W6CRAA FT 8£HJUt;O,                                            FT   a~. m          CA )U05•0000
    REPORT
         OATR/TIMR, o, AUO2021
    £HD DAT!/TIMB: OS SCP 2021
    A'M'ACJi8l)T01 wicRAA fT BF.JISU:O.CA F7 D •JtH~O N                               t.•.. :n:          JUO     -0000
    PtJ'RPOSR: A.OT FOR PROF CfllOSAL DCV:t,OPM lT (C'T'l.7' ,:•)
    AD:>ITION'ALIUSTRUCTiotrn I THIS 0                                             ::$1'ITU":'a .Mr.ttCRITY     TAAVlt.. AN
     AUTHORJZATJOHM'UST 8E COIKPL                                                     ?O,   •   71U.\'!L. f!NSUR£ TRAVIL
     AUTHOR I ZATJOHS WCLVD1! AU,     S                                              r, ! ·>'H.EJ. K £XP£:,JS . SCAN OR FAX nus
     ORDER INT-0 T11E RECHI PTG ARB.A J                                                   ~s $7 /1.!:TI AT Hi R£COR0S t • OOVIRMEHT
     KEA.LS, LOOOIUO, AJlD 1RAUSPO Tf,                                               m:~:At.     0   8'1VP~ t"RAVJ'!L F'OR A CADET WHOSI
     TRAVEL ORIOWATES PROMA OTC                                                      ~:      • or ';Ji· CO:lTI Dn"AL UNITED STATIS
     COCOt:US) IS OJ R.£CT D JJY Cl'R                                                    -;;.-;;o•: 0F'f"tC R AT TiiE A£1UAL PORT OJP
     EMDAJO'.ATIOH.IP OOVE . c:n· ru                                                                                LE F 0~ AN OVERSEAS
    LOCATIOU,         A STA                   II~                                                                    OP IATE TRANSPORTATIOH
    o,,1c8R.        IP ov                     7   D                                                                   IVS COST o, CTR. CADIT
    H'UST WNE P 1C'TV:                                         •                                         • TtM ...        IF A COMMON'ACCESS
    C.UD       NAG t,                                      A                                                    •   ·•,ttPlCATION IS
    REOUJ.PPD. LOD(m;                                     ~r .,;                                                          CA.OST8XCRPT AS
                                                                                                                          Tlf
    R      IR 0 DY 00        r                                                                             II P WITIIHI Ft!/£ DAYS OP
    COMPLITU:O TIIAI/                                                                                       ~IV RECIII           S FOR
    ,u!U'.8lfJ1 tM IT.                                             ,                                                      7RAVHLWILL Bl BILLED
    TO A CJ!!n RALL y n                                            .                                                      'll , AA~ Al1111OAI Z1'D ,

,OJt »JI.Y USP..
AUTH JU {: £CT'101:S                                                                                                      AY. AV ONLY IF Cfln'
IS AT LEAST C WEEY.                                                                                                       .. l..lPLE   SITES

                                                                       ..,
ACCTCLA!I: 2lZ20l~OOOrS701                Ollf
D0l1 ff/A             r-FH   WA   00,vp   I       l/ A,
PIBD,       N/A       HC.P N/A                                                                                        I    SE    ·~

FORMAT1
      260
••••••••••••••••                                                                                           1... : ?.,H
•         USACC          •
•        OP'FlCJAl.      •
••••••••••••••••
In         Illar!
